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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                      )
LISA TARDIFF,                                         )
                     Plaintiff,                       )   C.A. No. 23-cv-40115-MRG
                                                      )
                          v.                          )
                                                      )
LABORERS INTERNATIONAL UNION OF                       )   Leave To File Granted
NORTH AMERICA LOCAL UNION 609,                        )   December 18, 2023
CHRISTOPHER MURPHY, and WENDALL                       )
GARDNER,                                              )
               Defendants                             )
                                                      )


                                  REPLY BRIEF OF DEFENDANTS

        Defendants offer this Reply to Lisa Tardiff’s opposition to their motion to dismiss.1

    A. Ms. Tardiff offered no opposition to several arguments

        Defendants have moved to dismiss a substantial portion of Plaintiff Lisa Tardiff’s 11-

count complaint, and Ms. Tardiff has declined to offer any opposition to several arguments. As

such, the following claims should be dismissed as unopposed:

    •   There is no individual liability under Title VII (Doc. 11, p. 5): Counts II and IV as to Mr.
        Gardner and Mr. Murphy
    •   Workers’ compensation precludes common law claims against Local 609 (Doc. 11, p. 10-
        12): Count VI (Negligent Supervision) and Count VIII (Intentional/Negligent Infliction
        of Emotional Distress)2
    •   Workers’ compensation precludes common law negligence claims against individuals for
        workplace injuries. (Doc. 11, p. 12): Count VII (negligent infliction of emotional distress)
    •   Plaintiff failed to state a claim on the elements of both negligent and intentional infliction

1
  To the extent that Defendants do not address any specific issue in Plaintiff’s opposition,
Defendants continue to rely on the grounds argued in their motion.
2
  In note 2, by blatantly omitting her condition that Defendants would have to forego dismissal of
other claims, Ms. Tardiff unfortunately misrepresents her offer to make certain amendments to
the Complaint. Moreover, Plaintiff should have amended her complaint as a matter of right, per
Fed. R. Civ. P. 15(a)(1)(B), if she believed those counts failed to state a claim.
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       of emotion distress against all defendants (Doc. 11., p. 15-17): Counts VII (Mr. Murphy
       and Mr. Gardner) and Count VIII (Local 609).3

    B. The Massachusetts Workers’ Compensation Act precludes Count VII for
       Intentional Infliction of Emotional Distress against Mr. Murphy

       Ms. Tardiff argues that Count VII against Mr. Murphy is not precluded under the

Massachusetts Workers’ Compensation Act (“WCA”).4 Ms. Tardiff claims that Defendants’

arguments “would be against common sense and public policy.” Opp. at 6. The heated rhetoric

misses the point, which is that the Complaint itself alleges that Mr. Murphy was acting in his role

as supervisor by allegedly attempting to “intimidate and silence Ms. Tardiff” from complaining

about her alleged gender discrimination that occurred at work. Compl. ¶ 48. This is no different

than in Anzalone v. MBTA, 403 Mass. 119, 122–23 (1988), where the SJC precluded individual

claims against a supervisor who intentionally aggravated the plaintiff’s breathing condition by

having people smoke near the plaintiff, painting outside his office, and then placing him in a

100-degree room with no ventilation. Whether an action is in the employer’s interest does not

turn on the severity of the alleged misconduct, but on why the actions were taken. In that Mr.

Murphy is alleged to have taken these actions because he was her supervisor, the Complaint

alleges they were taken in the interest of the employer. Compare Horney v. Westfield Gage, 95

F. Supp. 2d 29, 37 (D. Mass. 2000) (motion to dismiss inappropriate only because complaint did

not contain “enough information to determine whether both [defendant] and Plaintiff were acting

within the course of their employment when the torts allegedly occurred”).




3
 Ms. Tardiff only addressed workers compensation preclusion, not the merits.
4
 Defendants did not argue that the ‘IIED’ claim against Mr. Gardner is precluded, but they did
argue it should be dismissed on the merits (Doc. 11, p. 17.), which Ms. Tardiff did not oppose.


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   C. While Chapter 151B provides for individual liability in certain cases, Plaintiff did
      not adequately allege it here

       Ms. Tardiff argues forcefully, albeit conclusorily, that Ch. 151B allows for liability

against the individual Defendants as to Chapter 151B. (Opp. at 7). Defendants do not dispute that

very general assertion. The point is that Ms. Tardiff does not address the doctrinal details of why

there is no individual liability alleged in the Complaint. For example, Defendants point out that

the retaliation claims against Mr. Gardner and Mr. Murphy do not allege they acted in their

personal capacities. (Doc. 11, p. 8-9). As another example, Plaintiff also ignores the argument

that Mr. Murphy cannot be individually liable for sexual harassment given that she did not allege

he engaged in sexual harassment. (Doc. 11, p. 6-8.) Plaintiff’s perfunctory opposition leaves the

substance of Defendants’ arguments on individual liability functionally ignored on the facts.

   D. The continuing violation theory does not apply to Ms. Tardiff’s discrimination
      claims

       Ms. Tardiff argues that Counts IX and X, for gender discrimination under Ch. 151B and

Title VII, should not be dismissed as untimely, under a continuing violation theory. Opp. at 8-9.

Her unwarranted claim is that an alleged wage disparity that was resolved on May 31, 2018, is

somehow inextricably connected to the allegations concerning Mr. Gardner three years later.

       Under Title VII, a claim of a “continuing violation” is evaluated according to the

following criteria: (1) whether the subject matter of the discriminatory acts was sufficiently

similar such that there was a substantial relationship between the otherwise untimely acts and the

timely acts; (2) whether the acts were isolated and discrete or occurred with frequency or

repetitively or continuously; and (3) whether the acts were of sufficient permanence that they

should have triggered an awareness of the need to assert one's rights. O'Rourke v. City of

Providence, 235 F.3d 713, 727 (1st Cir. 2001). The “continuing violation” doctrine does not

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apply if, at the relevant time, plaintiff was or should have been aware of the discriminatory

practice. Sabree v. United Bhd. of Carpenters Local 33, 921 F.2d 396, 401-02 (1st Cir. 1990).

       Under Ch. 151B, a plaintiff can establish a continuing violation by showing that (1) at

least one discriminatory act occurred within the limitation period, (2) the alleged timely

discriminatory acts have a substantial relationship to the alleged untimely discriminatory acts,

and (3) earlier violations outside the limitations period did not trigger the plaintiff's awareness

and duty to assert her rights. Ocean Spray Cranberries, Inc. v. MCAD, 441 Mass. 632, 642-43

(2004). The limitation period starts when “the plaintiff knew or reasonably should have known

that her work situation was pervasively hostile and unlikely to improve.” Cuddyer v. Stop &

Shop Supermarket Co., 434 Mass. 521, 539 (2001).

       Ms. Tardiff was on notice of the pay disparity claim as of 2018. “A discrete retaliatory or

discriminatory act ‘occurred’ on the day that it ‘happened.’ A party, therefore, must file a charge

within either 180 or 300 days of the date of the act or lose the ability to recover for it.” Nat'l R.R.

Passenger Corp. v. Morgan, 536 U.S. 101, 110 (2002). Ms. Tardiff cannot recover on the pay

disparity claim from 2018.

   E. Ms. Tardiff fails to engage the arguments in favor of dismissing the PFML
      interference claim

       Defendants have moved for dismissal of Count XII (PFML Interference) because (1) the

statutory language does not support Ms. Tardiff’s contrived theory of “attempted” interference;

(2) allegations that an employer provided false information to the state during claim processing

must be resolved through the PFML administrative process; and (3) she failed to allege she was

eligible for PFML benefits. Ms. Tardiff does not substantively engage with any of these

arguments. In footnote 6, she says there must be individual liability under the PMFLA because


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there is individual liability under the FMLA. (Opp., pg. 11, n. 6.) However, the text of the FMLA

is materially different than the PFMLA. The FMLA defines employer as “any person who acts,

directly or indirectly, in the interest of an employer to any of the employees,” 29 U.S.C. §§

2611(4)(A)(ii)(I), 2615(a)(1)–(2)(emphasis added), whereas the PFMLA defines employer with

reference to the state unemployment statute (“employing unit”), and which further requires an

employer to have a federal Employer Identification Number (which are not issued to

individuals). G.L. c. 175M, § 1. The different statutory language compels different results.


                                                     Respectfully submitted,

                                                     LABORERS INTERNATIONAL UNION OF
                                                     NORTH AMERICA, LOCAL UNION 609,
                                                     CHRISTOPHER MURPHY, AND WENDALL
                                                     GARDNER

                                                     By their attorneys,

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Dated: December 18, 2023                             jjones@segalroitman.com


                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF (NEF) and paper copies will
be sent to those indicated as non registered participants on December 18, 2023.

                                                     /s/ James A.W. Shaw
                                                     James A.W. Shaw



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